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 8
                                 UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10

11
       KAVEH FASIH,                                 Case No. 2:24-cv-06455-ODW-E
12                                                  Judge Otis D. Wright, II
                    Plaintiff,
13
                    v.                              PLAINTIFF’S NOTICE OF
14                                                  DISMISSAL WITHOUT PREJUDICE
       LESSEREVIL LLC, a Connecticut limited        PURSUANT TO FEDERAL RULE OF
15     liability company,                           CIVIL PROCEDURE 41(a)(1)(A)(i)

16                  Defendants.

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      NOTICE OF VOLUNTARY DISMISSAL                                Case No: 2:24-cv-06455-ODW-E
     Case 2:24-cv-06455-ODW-E      Document 10 Filed 08/20/24       Page 2 of 3 Page ID
                                         #:112


 1          TO THE COURT, CLERK AND ALL PARTIES OF RECORD:
 2          PLEASE TAKE NOTICE that Plaintiff Kaveh Fasih (“Plaintiff”) respectfully
 3    requests dismissal without prejudice of the instant action pursuant to Rule 41(a)(1)(A)(i)
 4    of the Federal Rules of Civil Procedure. Defendant has not filed or served an answer to
 5    Plaintiff’s Complaint, nor filed a motion for summary judgment.
 6

 7    Dated: August 20, 2024                       PACIFIC TRIAL ATTORNEYS
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 9                                                 By: /s/ Scott J. Ferrell
                                                   Scott J. Ferrell
10                                                 Attorney for Plaintiff
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      NOTICE OF VOLUNTARY DISMISSAL                                    Case No: 2:24-cv-06455-ODW-E
     Case 2:24-cv-06455-ODW-E          Document 10 Filed 08/20/24    Page 3 of 3 Page ID
                                             #:113


 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on August 20, 2024, I electronically filed the foregoing
 3    PLAINTIFF’S NOTICE OF DISMISSAL WITHOUT PREJUDICE PURSUANT
 4    TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i) with the Clerk of the
 5    Court using the CM/ECF system which will send notification of such filing via electronic
 6    mail to all counsel of record.
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 8                                                       /s/ Scott J. Ferrell Esq.
                                                           Scott J. Ferrell, Esq.
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      CERTIFICATE OF SERVICE                                              Case No: 2:24-cv-06455-ODW-E
